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March 20, 2018
Lyle W. Cayce, Clerk md
Amanda Sutton-Foy, Deputy Clerk s°"g:m gm$°!".g“
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United States Court of` Appeals for the Fifth Circuit "AR 2 2 20 ,8
600 S. Maestri Place w
New orleans, LA 70130 \.. ».‘."B'W¢y. cr¢,k"%
No. 17-20618 ln re: Richard Drummond

USDC No. 4:08-CV-244l
Dear Ms. Sutton-Foy:

In response to the Court’s request for supplemental briefing on the pending petition for a
writ of mandamus, Richard Drummond informs the Court that his petition is as relevant today as
it Was When it was filed on October 3, 2017.

The district court’s December 28, 2017 Opinion and Order on Personal Liability (Dkts.
206, 207) resolved only one motion referenced in Dr. Drummond’s petition, the United States’
Motion F or Paitial Summary Judgment Establishing Maghareh’s Personal Liability (Dkt. 160).
The two other motions for summary judgment and partial summary judgment, identified in the
petition and listed in Exhibit E to the petition, remain unresolved Since the petition Was filed, no
case management orders have been entered, no trial date has been established and, as the Court
observed, no final judgement has been issued.

Both of the pending motions Were fully-briefed almost four years ago. In less than five
months, the case Will reach the tenth anniversary of` its August 2008 filing. Dr. Drummond’s
petition is far from moot.

Respectf`ully submitted,
Mitchell R. Kreindler

COUNSEL FOR RELATOR AND PETITIONER
RICHARD DRUMMOND

 

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CERTIFICATE OF SERVICE

I certify that on this 20‘h day of March 2018, Relator Richard Drummond’s supplemental
letter brief responding to the Court’s March 12, 2018 directive was served on all counsel of record
automatically through the Notice of Electronic Filing (NEF) issued by the Court’s Electronic Case
Filing (ECF) System. Copies of Dr. Drummond’s supplemental letter brief were also served on (l)
the trial court judge, The Honorable Lynn Hughes, via U.S Mail and via email to his Case Manager,
Glenda Hassan (Glenda_Hassan@txs.uscourts. gov), and (2) counsel representing the United States
before the trial court, Assistant U.S. Attorney Michelle Zingaro (MZingaro@usa.doj.gov) and DOJ

Trial Attorney Richard Nicholson (Richard.Nicholson@usdoj .gov).

Mitchell R. Kreindler

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